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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 JOHN NAWARA,                                   )
                                                )
                   Plaintiff                    )       No. 1:17-cv-02393
         v.                                     )
                                                )       Judge Pallmeyer
 COUNTY OF COOK et al.,                         )
                                                )
                   Defendants.                  )

    DECLARATION OF DANA L. KURTZ IN SUPPORT OF HER RESPONSE
            IN OPPOSITION TO MOTION FOR SANCTIONS

         I, Dana L. Kurtz, declare pursuant to 38 U.S.C. §1746, under penalty of perjury

 and based on personal knowledge that the following facts are true and correct to the best

 of my knowledge, information and belief:

         1.        I am over 18 years of age and am an Illinois licensed attorney with Kurtz

 Law Offices, Ltd. ("KLO"). I have personal knowledge of the matters set forth below.

         2.        I never have received, seen, or read any unredacted copies of any of the

 documents attached as Exhibits B, C and D to the Declaration of Elizabeth Scannell,

 Docket No. 82-2, filed in support of the motion for disqualification in this action.

         3.        I never have received, seen, or read any unredacted copies of any of the

 documents attached as Exhibits A, B(1), B(2), C, D, E, G, H, I, J and K to the Declaration

 of Katherine Christy, Docket No. 82-2, filed in support of the motion for disqualification

 in this action.

         4.        Prior to my receiving a copy of the motion for disqualification in this

 action after it was filed by Defendants, I did not receive, see or read a copy of the

 document attached as Exhibit F to the Declaration of Katherine Christy, Docket No. 82-2,

 filed in support of the motion for disqualification in this action.
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        5.      I never have received, seen, or read any unredacted copy of the document

 attached as Exhibit 2 to the Reply in further support of the motion for disqualification,

 Docket No. 119-2, in this action.

        6.      Prior to my receiving a copy of the Reply in further support of the motion

 for disqualification after it was filed by Defendants in this action, I did not receive, see,

 or read a redacted copy of the document attached as Exhibit 2 to the Reply in further

 support of the motion for disqualification, Docket No. 119-2, in this action.

        7.      Prior to my receiving a copy of the Reply in further support of the motion

 for disqualification after it was filed by Defendants in this action, I did not receive, see,

 or read a copy of the document attached as Exhibit 3 to the Reply in further support of the

 motion for disqualification, Docket No. 119-3, in this action.

        8.      Prior to my receiving a copy of the motion for disqualification after it was

 filed by Defendants in this action, I never received, saw or read the document attached as

 Exhibit A to the Declaration of Elizabeth Scannell, Docket No. 82-2, filed in support of

 the motion for disqualification in this action.

        9.      I do not know if the Defendants’ submission to the Court “in camera” on

 July 10, 2018 constitutes the unredacted versions of the records attached to the motion for

 disqualification, or whether it contains additional documents. Either way, the full extent

 of what was provided to the court for its review was never provided to me.




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 FURTHER DECLARANT SAYETH NOT.



                                 __________________________________
                                 DANA L. KURTZ
 Dated: February 19, 2019




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